             Case 2:20-cv-00523-SMB Document 86 Filed 09/28/22 Page 1 of 4




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16                     IN THE UNITED STATES DISTRICT COURT
17                              FOR THE DISTRICT OF ARIZONA
18    Carlos Daniel Travieso,                         No. 2:20-cv-00523-SMB
19                 Plaintiff,                         DEFENDANT GLOCK Ges.m.b.H.’S
                                                      UNOPPOSED     MOTION    FOR
20          vs.                                       LEAVE TO FILE AN EARLY
                                                      MOTION      FOR    SUMMARY
21    GLOCK, Inc., a Georgia Corporation;             JUDGMENT BASED ON RELEASE
      GLOCK GmbH, an Austrian Corporation;            AND STAY DISCOVERY PENDING
22    ABC Firearm Dealer Corporation; 123             A DECISION ON THE REQUESTED
      Firearm Distributor Corporation, and DOES       MOTION
23    1-50,
24                 Defendants.                        (Assigned to the Honorable Susan M.
                                                      Brnovich)
25
26         Pursuant to Paragraph 6(b) of the Case Management Order (Doc. No. 56), Defendant

27   Glock Ges.m.b.H. respectfully requests leave to file an early motion for summary judgment

28   based on release. Glock Ges.m.b.H. further requests that all discovery be stayed pending a

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              Case 2:20-cv-00523-SMB Document 86 Filed 09/28/22 Page 2 of 4




 1   decision on the requested motion for summary judgment if leave to file it is granted. Plaintiff
 2   has advised that he does not oppose the relief requested in this motion, but requests that he be
 3   given an additional fifteen days beyond the thirty days provided in Local Civil Rule 56.1(c) to
 4   file his response in opposition to the motion for summary judgment.
 5          This case arises from an incident in which Plaintiff was shot with a Glock Model 19
 6   Gen5 9mm semi-automatic handgun (“Subject Handgun”) on March 17, 2018, when a fourteen-
 7   year-old girl (“shooter”) “came to possess” the Subject Handgun, which was left unsecured and
 8   loaded in a vehicle in which a church leader was driving Plaintiff, the shooter, and other
 9   “children home from a youth group camping trip.” Compl. ¶¶ 2, 30, 32-33. More than two
10   years before Plaintiff filed this case, he entered into a confidential settlement agreement with a
11   third party arising from the same incident at issue in this case. Glock Ges.m.b.H. has raised
12   release as an affirmative defense in its amended answer based on that settlement agreement.
13   Glock Ges.m.b.H. intends to argue in a motion for summary judgment that the settlement
14   agreement released Plaintiff’s claims against all parties, including Glock Ges.m.b.H., that could
15   have potential liability arising from the incident, and provided Plaintiff full compensation for
16   all of the damages that he alleges to have sustained in the incident.
17          Documentary discovery regarding the settlement agreement that will be the basis for the
18   motion for summary judgment has been completed, and the parties believe that it will provide
19   sufficient evidence for this Court to decide the legal issues to be raised in a motion for summary
20   judgment based on release. Part of the consideration for the third party’s settlement with
21   Plaintiff was confidentiality and not having to respond to discovery in any litigation related to
22   the incident, by barring claims against any other potentially responsible parties. If this Court
23   agrees with Glock Ges.m.b.H.’s arguments that the settlement agreement bars Plaintiff’s claims
24   against it, such decision will resolve all remaining claims in this case. An early motion for
25   summary judgment is therefore in the interest of judicial economy.
26          Based on the above, Glock Ges.m.b.H. requests that discovery be stayed pending a
27   decision on a motion for summary judgment based on release, if this Court grants leave to file
28   such a motion. Staying discovery would save a substantial amount of time, money, and judicial
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              Case 2:20-cv-00523-SMB Document 86 Filed 09/28/22 Page 3 of 4




 1   resources related to Plaintiff’s product liability claims and damages issues that would not be
 2   relevant for purposes of the motion for summary judgment based on release. Staying discovery
 3   would also prevent the need for depositions of the third party that settled with Plaintiff and
 4   related individuals, and give the third party the benefit of its bargain with Plaintiff to avoid such
 5   discovery by fully compensating Plaintiff for the injuries he sustained in the incident.
 6                                            CONCLUSION
 7          For the above reasons, Glock Ges.m.b.H. respectfully requests that this Court grant its
 8   unopposed motion for leave to file an early motion for summary judgment based on release
 9   while preserving its right to file a subsequent motion for summary judgment, if necessary, at the
10   conclusion of discovery, stay all further discovery pending a decision on such motion, grant
11   Plaintiff forty-five days to file his response in opposition to the motion for summary judgment,
12   grant Glock Ges.m.b.H. thirty days to file a reply in further support of its motion for summary
13   judgment, and grant such other relief as it deems just and proper.
14
15          DATED this 28th day of September, 2022.
16                                                   BOWMAN AND BROOKE LLP
17
                                                By: /s/ Amanda E. Heitz
18                                                  Paul G. Cereghini
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              Case 2:20-cv-00523-SMB Document 86 Filed 09/28/22 Page 4 of 4




 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that on the 28th day of September, 2022, I electronically transmitted the

 3   foregoing DEFENDANT GLOCK Ges.m.b.H.’S UNOPPOSED MOTION FOR LEAVE TO

 4   FILE AN EARLY MOTION FOR SUMMARY JUDGMENT BASED ON RELEASE AND

 5   STAY DISCOVERY PENDING A DECISION ON THE REQUESTED MOTION to the

 6   Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of Electronic

 7   Filing to the following CM/ECF Registrants:

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